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                  UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                                        )
AMERICAN CHEMISTRY COUNCIL, and                         )
AMERICAN FUEL & PETROCHEMICAL                           )
MANUFACTURERS,                                          )
                                                        )
                     Petitioner,                        )
                                                        )            No. 23-1204
                         v.                             )
                                                        )
U.S. ENVIRONMENTAL PROTECTION                           )
AGENCY,                                                 )
                                                        )
                    Respondent.                         )
                                                        )

             PETITIONERS’ NONBINDING STATEMENT OF ISSUES

       Pursuant to this Court’s order of August 9, 2023 (ECF 2011606), Petitioners

American Chemistry Council (“ACC”) and American Fuel & Petrochemical

Manufacturers (“AFPM”) hereby submit the following nonbinding statement of the

issues presented for review:

       Whether EPA’s final rule,1 which governs the assertion and treatment of

confidential business information claims for information reported to or otherwise

obtained by EPA under the Toxic Substances Control Act (“TSCA”) is contrary to




       1
        Confidential Business Information Claims Under the Toxic Substances Control Act, 88
Fed. Reg. 37,155 (June 7, 2023)
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TSCA, unreasonable, arbitrary and capricious, an abuse of discretion, without

adequate explanation of its reasoning, or otherwise not in accordance with law.

      This is a preliminary statement of the issues that ACC and AFPM may raise.

ACC and AFPM reserve their right to modify this statement of issues, as well as to

raise these and other issues.

                                             Respectfully submitted,
Of counsel:
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Dated: September 8, 2023




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